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PETER C. ERBLAND -- ISBA #2456
perbland@lclattorneys.com
JENNIFER FEGERT- ISBA #7187
jfegert@|clattorneys.com

LAKE CITY LAW GROUP PLLC
435 W. Hanley Avenue, Suite 101
Coeur d'Alene, ID 83815

Telephone: (208) 664-8115
Facsimile: (208) 664-6338

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO

TIFFANY K, MURRAY and KEVIN C.
MURRAY, husband and wife,

Plaintiffs,
VS.

CITY OF BONNERS FERRY and JOEL
MINOR, in his official and individual
capacities, and JOHN LUNDE, in his official
and individual capacities, and STEPHEN
BOORMAN, in his official and individual
capacities; and STEVEN BENKULA, in his
official and individual capacities, ROBERT
BOONE, in his official and individual
capacities, and JOHN DOES I-V, and JANE
DOES I-V,

Defendants.

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COMES NOW defendants City of Bonners Ferry (City), Joel Minor, Stephen Boorman,
Steven Benkula and Robert Boone (hereinafter collectively referred to as “defendants”), by and
through their attorney of record, and hereby move the court for an order allowing defendants to
exceed the page limit with regard to their response to plaintiffs’ motion to amend their complaint
to add a claim for punitive damages, Defendants further oppose plaintiffs’ motion to strike

defendants’ response to plaintiffs’ motion for leave to amend and the affidavit of Peter C.

Erbland.

Case No. 2:15-cv-00081-REB

MOTION TO EXCEED PAGE LIMIT
AND OPPOSITION TO PLAINTIFFS’
MOTION TO STRIKE

MOTION TO EXCEED PAGE LIMIT AND OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE - 1

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I. BACKGROUND

1. On March 17, 2015, plaintiffs caused to be served on Defendants City of Bonners
Ferry and its named agents and employees the plaintiffs’ first amended complaint for damages,
which consisted of fifty-one pages and four hundred and fifty two allegations. (Dkt. No. 5).

2. On March 11, 2016, plaintiffs filed a motion to amend their complaint to add a
claim for punitive damages and a memorandum in support of their motion. (Dkt. No, 35; 35-1).

3. The proposed second amended complaint consists of fifty one pages and four
hundred and fifty two allegations against all defendants. (Dkt. No. 35-4).

4, In support of plaintiffs’ motion to amend their complaint, the plaintiffs submitted
over three hundred pages of documents and exhibits. (Dkt. No, 35-5).

5. Plaintiffs’ motion for leave to amend their complaint to add a claim for punitive
damages was untimely and filed six months outside this court’s scheduling order dated June 8,
2015,

6. Defendants opposed the plaintiffs’ motion for leave to amend their complaint and
timely filed a twenty four page memorandum on April 1, 2014. (Dkt. No. 39).

7. On April 4, 2015, still within the time limits set by this Court for the defendants’
response to the plaintiffs’ motion to amend, defendants filed an affidavit of counsel in support of
their opposition. (Dkt. No. 42),

8, Attached as an exhibit to the affidavit of Peter C. Erbland was the expert witness
report of Scot Haug. (Dkt. No, 42), The expert report of Scot Haug was disclosed to the
plaintiffs on December 7, 2015, with defendants’ Rule 26 expert witness disclosure. (Exhibit A

to Erbland Affidavit).

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9, On April 6, 2016, plaintiffs filed a motion to strike defendants’ memorandum and
the affidavit of Peter C. Erbland, claiming prejudice to the plaintiffs in having to reply to four
additional pages in defendants’ memorandum and a report that had been previously disclosed to
plaintiffs as part of this lawsuit. (Dkt. No. 43),

Il. ARGUMENT

Plaintiffs have filed a motion to strike defendants’ memorandum submitted to this court
in opposition to plaintiffs’ motion to amend their complaint to add a claim for punitive damages,
Plaintiffs have also moved this court to strike the affidavit of Peter C. Erbland and the exhibits
attached thereto, Plaintiffs claim they will suffer prejudice and increased cost of litigation
should they have to respond to the four extra pages included in defendants’ memorandum and a
report that had been previously disclosed to them as part of defendants’ expert witness
disclosures. Plaintiffs’ arguments should be rejected.

1. Defendants Respectfully Request That This Court Deny Plaintiffs’ Motion
To Strike And Accept Defendants’ Memorandum and Affidavit In Its Entirety.

Local Civil Rule 7.1(a)(2) provides in relevant part:

No memorandum of points and authorities in support of or in
opposition to a motion shall exceed twenty (20) pages in length,
nor shall a reply brief exceed ten (10) pages in length, without
express leave of the Court, which will only be granted under
unusual circumstances.

Defendants acknowledge that through oversight, counsel failed to ask leave of the court
to file excess pages for their response to the plaintiffs’ motion to amend their complaint.
Defendants recognize the purpose of Rule 7.1 is to allow for the efficiency of motion practice
within this District. Defendants assert, however, that their oversight was not done in an effort to

thwart the Court’s rules or to cause undue prejudice to the plaintiffs. Instead, the addition of four

pages to their memorandum was necessary to properly respond to plaintiffs’ arguments and

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claims in their motion for punitive damages, considering the vast amount of documents and
exhibits plaintiffs filed in conjunction with their motion. (See Dkt. No. 35-5),

Including four additional pages in a response memorandum is not a cardinal sin,
especially when compared with the hundreds of pages plaintiffs have besieged this Court with.
In support of their motion for leave to amend, the plaintiffs filed over two hundred and fifty
pages of exhibits, which are incorporated into their memorandum by reference and citation
throughout their argument. The unusual circumstances created by plaintiffs in filing hundreds of
pages of exhibits warrants an exception to Rule 7.1. Defendants respectfully request this court
grant an order allowing defendants to submit their memorandum and supporting affidavit as filed
and that the Court recognize all arguments and exhibits submitted therewith.

2. Defendants’ Memorandum and Affidavit Does Not Cause Prejudice To the
Plaintiffs.

Plaintiffs claim that if this court does not strike defendants’ memorandum then the “result
could very well be yet another delay in this case.” Plaintiffs further claim that because
defendants filed a memorandum that exceeds the page limit by four pages and an affidavit of
counsel, they have suffered prejudice and incurred increased attorney fees in bringing a motion
to strike those pages and the affidavit. These arguments should also be rejected.

Plaintiffs complain that the reference to Scot Haug’s report in counsel’s affidavit is
improper and prejudicial as the affidavit incorporates “more than three (3) times the limit
allowed by Local rule 7.1.” (Dkt. No. 43-2, p. 6). Yet, plaintiffs have overwhelmed this court
with over three hundred pages of documents and exhibits, which by reference to those exhibits in
their memorandum and statement of facts are incorporated as if fully set forth therein. Plaintiffs’
memorandum and statement of facts cites to the hundreds of pages of exhibits and their citations

to cach document incorporates each exhibit into their memorandum and argument as if fully set

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forth in the pleadings. Should this court decide to strike the additional four pages of defendants’
memorandum and twenty page report of Scot Haug!, it would only follow that the Court must
also strike the two hundred and fifty pages of exhibits filed by plaintiffs as being outside the
page limits of Rule 7.1. Plaintiffs cannot reasonably ask this court to strictly impose Rule 7.1
against defendants when the plaintiffs thwart that very rule themselves by filing hundreds of
pages of documents as exhibits supporting their “statement of facts.” (Dkt. No. 35-5).

Plaintiffs’ argument that they are prejudiced by the affidavit of counsel and the report of
Scot Haug also has no merit as plaintiffs were given of copy of Haug’s report on December 7,
2015. The content of that report is not new or surprising to the plaintiffs and its inclusion is
helpful to the Court in evaluating plaintiffs’ motion for punitive damages against Steven Benkula
and Robert Boone. There is simply no merit to the plaintiff's argument that the filing of the
report will cause “yet another delay in this case” as plaintiffs cannot show that a delay has
occurred or that it would take plaintiffs any longer to reply to defendants’ memorandum simply
by the filing of Haug’s report.

And finally, any additional expense incurred in bringing their motion to strike is caused
by plaintiffs. It is trivial to argue over a mere additional four pages to defendants’ memorandum
and a report that has been disclosed to the plaintiffs when the plaintiff has usurped the Court
rules themselves by filing over three hundred pages of documents. Plaintiffs could have easily,
and in good faith, discussed the issue with defendants and come to an agreement regarding the
additional pages. However plaintiffs decided to waste their own time, the defendants’ time, and

this Court’s time bringing a motion to argue over a slight procedural oversight.

! Plaintiff's claim that the addition of Scot Haug’s report add forty-three pages to the defendants’ memorandum;
however, this claim is misleading as the substances of Haug’s report is only twenty pages long. The remaining
twenty-four pages contains Haug’s curriculum vitae and his experience as an expert, which is not included in the
substance of the report.

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Il. CONCLUSION

Defendants did not act in bad faith or purposefully attempt to violate Rule 7.1. Instead,
defendants’ oversight of four additional pages to their memorandum and the affidavit of counsel
should be accepted by this Court considering the unusual circumstance of defending against over
three hundred pages of documents filed by plaintiffs. Defendants respectfully request that this
court enter an order allowing defendants to exceed the page limit pursuant to Rule 7.1 of the
local rules and consider all arguments and exhibits presented by defendants in response to
plaintiffs’ motion to amend to include a claim for punitive damages. Defendants further request

that this court deny the plaintiffs’ motion to strike.

DATED this / h i day of April, 2016.

LAKE CITY LAW GROUP PLLC

PETER C. ERBLAND
Attorney for Defendants

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the [th day of April, 2016, I filed the foregoing
electronically through the CM/ECF system which caused the following parties or counsel to be
served by electronic means, as more fully reflected on the Notice of Electronic Filing:

Timothy B. Wilson
Thomas A. Bushnell
P.O, Box 3009

Bonners ferry, ID 83805
Attorneys for Plaintiffs

Michael J. Elia

Steven R, Kraft

Moore & Elia, LLP

P.O. Box 6756

Boise, ID 83707

Attorney for Defendant John Lunde

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LJ Fax Transmission: 208-267-1760
Email: towilson@twlawoffice.com
Email: thomasabushnell@gmail.com

[] Fax Transmission: 208-336-7031
Email: mjie@melawfirm.net
Email: steve@melawfirm.net

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